2/24/2021               Case MDL No. 2741 Document 2214-4
                                                Kentucky      Filed
                                                         Western     02/24/21 Page 1 of 44
                                                                 CM/ECF-DC

                                              U.S. District Court
                                    Western District of Kentucky (Louisville)
                                CIVIL DOCKET FOR CASE #: 3:21-cv-00121-RGJ


 Mattingly v. Monsanto Company                                                     Date Filed: 02/24/2021
 Assigned to: Judge Rebecca Grady Jennings                                         Jury Demand: Both
 Case in other court: Marion Circuit Court, 21-CI-00011                            Nature of Suit: 365 Personal Inj. Prod.
 Cause: 28:1441 Petition for Removal- Product Liability                            Liability
                                                                                   Jurisdiction: Diversity
 Plaintiff
 Owen A. Mattingly                                                   represented by Joseph H. Mattingly , III
                                                                                    Mattingly & Nally-Martin, PLLC
                                                                                    104 W. Main Street
                                                                                    P.O. Box 678
                                                                                    Lebanon, KY 40033
                                                                                    270-692-1718
                                                                                    Fax: 270-692-1249
                                                                                    Email: joe@mattinglylawoffices.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 Monsanto Company                                                    represented by Carol D. Browning
                                                                                    Stites & Harbison, PLLC - Louisville
                                                                                    400 W. Market Street, Suite 1800
                                                                                    Louisville, KY 40202-3352
                                                                                    502-681-0516
                                                                                    Fax: 502-779-8232
                                                                                    Email: cbrowning@stites.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


  Date Filed            # Docket Text
  02/24/2021           1 NOTICE OF REMOVAL by Monsanto Company from Marion Circuit Court, case number
                         21-CI-00011. (Filing fee $ 402; receipt number 0644-3291257) filed by Monsanto
                         Company. (Attachments: # 1 Exhibit 1 - State Court Record, # 2 Cover Sheet) (ALS)
                         (Entered: 02/24/2021)
  02/24/2021           2 Corporate Disclosure Statement identifying Corporate Parent Bayer AG for Monsanto
                         Company. (ALS) (Entered: 02/24/2021)
  02/24/2021           3 Case Assignment (Random Selection): Case Assigned to Judge Rebecca Grady Jennings.
                         (ALS) (Entered: 02/24/2021)
  02/24/2021           4 ANSWER to Complaint with Jury Demand by Monsanto Company. (ALS) (Entered:
                         02/24/2021)
  02/24/2021           5 CLERK'S NOTICE - re 1 Notice of Removal from Marion Circuit Court, Civil Action No.
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?853664474189951-L_1_0-1                                                      1/2
2/24/2021               Case MDL No. 2741 Document        2214-4
                                                        Kentucky      Filed
                                                                 Western     02/24/21 Page 2 of 44
                                                                         CM/ECF-DC

                          21-CI-0011. cc: Counsel, Marion Circuit Court (ALS) (Entered: 02/24/2021)



                                                        PACER Service Center
                                                            Transaction Receipt
                                                               02/24/2021 17:00:28
                                   PACER
                                                   hllp1982:2634105:4722683 Client Code: 1417.0049
                                   Login:
                                                                              Search      3:21-cv-00121-
                                   Description: Docket Report
                                                                              Criteria:   RGJ
                                   Billable
                                                   1                          Cost:       0.10
                                   Pages:




https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?853664474189951-L_1_0-1                                    2/2
              Case MDL No. 2741 Document 2214-4 Filed 02/24/21 Page 3 of 44



                                                                           Summons Division
                                                                              PO BOX 718
Michael G Adams
                                        Commonwealth of Kentucky
Secretary of State                     Office of the Secretary of State

                                              January 27, 2021

MONSANTO COMPANY
800 N. LINDBERG BLVD.
SAINT LOUIS, MO 63167


FROM.         SUMMONS DIVISION
              SECRETARY OF STATE

RE.            CASE NO. 21-CI-00011

COURT: Circuit Court Clerk
    Marion County
    121 N Spalding Ave.
    Lebanon, KY 40033
    Phone: (270) 692-2681

Legal action has been filed against you in the captioned case As provided under
Kentucky law, the legal documents are enclosed

Questions regarding this action should be addressed to:

       (1) Your attorney, or
       (2) The attorney filing this suit whose name should appear on
            the last page of the complaint, or
       (3) The court or administrative agency in which the suit is filed
           at the clerk's number printed above.

The Kentucky Secretary of State has NO POWER to make a legal disposition of this
case Your responsive pleadings should be filed with the clerk of the court or agency
where the suit is filed and served directly on your opposing party.

No copy of future pleadings need be sent to this office unless you wish us to serve
the pleading under a particular statute or rule and pay for said service.




Kentucky Secretary of State's Office            Summons Division                  1/27/2021
                      Case MDL No. 2741 Document 2214-4 Filed 02/24/21 Page 4 of 44

 AOC-E-105          Sum Code. Cl
 Rev 9-14                                                                                   Case #. 21-CI-00011

 Commonwealth of Kentucky
                                                                \mJd/                       Court'     CIRCUIT
 Court of Justice Courts.ky gov                                                             County MARION
 CR 4 02, Cr Official Form 1                            CIVIL SUMMONS

Plantiff, MATTINGLY, OWEN A. VS. MONSANTO COMPANY, Defendant




                                                                                                                                   P a c k a g e 000002 o f 000041
    TO; MONSANTO COMPANY
            800 N. LINDBERGH BLVD.
            SAINT LOUIS, MO 63167

The Commonwealth of Kentucky to Defendant.


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons




                                                                                                                                    Presiding Judge: HON. KAELIN G. REED (6114021
                                                                  Marion Circuit Clerk
                                                                  Date: 1/15/2021




                                                            Proof of Service
   This Summons was:

□ Served by delivering a true copy and the Complaint (or other initiating document)

      To:

□ Not Served because.
                                                                                                                                   PacKage 000002 of 000041




    Date:                             20.
                                                                                                     Served By

                                                            A TRUE COPY            ______________
                                                            ATTEST: KIM T- MAY CLERK   Title

Summons ID 309794021295535@00000055292                      rv       'JM            Sa
CIRCUIT 21-CI-00011 Long Arm Statute - Secretary of State



                                                                                                       eFiled
MATTINGLY, OWEN A VS MONSANTO COMPANY

                                                               Page 1 of 1
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                                  COMMONWEALTH OF KENTUCKY
                                       11th JUDICIAL CIRCUIT
                                     MARION CIRCUIT COURT
                                             DIVISION___
                                  CIVIL ACTION NO. 20-CL________
                                            Electronically Filed




                                                                                                                      Package.000003 of 000041
   OWEN A. MATTINGLY

           Plaintiff,                                                    COMPLAINT
   V.


   MONSANTO COMPANY
    800 N. Lindbergh Blvd.
    St. Louis, MO 63167

        SERVE: Michael G. Adams
               Kentucky Secretary of State
               700 Capitol Avenue, Suite 152




                                                                                                                      Presiding Judge: HON. KAELIN G. REED (611402)
               Frankfort, Kentucky 40601

          Defendant




           Comes the Plaintiff, Owen Mattingly, by counsel, and for his Complaint for damages against

  the Defendant, Monsanto Company, alleges the following:

                                          NATURE OF THE CASE

           1.         This is an action for damages suffered by Plaintiff as a direct and proximate result

  of Defendant’s negligent and wrongful conduct in connection with the design, development,

   manufacture, testing, packaging, promoting, marketing, advertising, distribution, labeling, and/or
                                                                                                                      Package 000003 of 000041




   sale of the herbicide Roundup®, containing the active ingredient glyphosate.

           2.         Plaintiff maintains that Roundup® and/or glyphosate is defective, dangerous to

   human health, unfit and unsuitable to be marketed and sold in commerce and lacked proper

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warnings and directions as to the dangers associated with its use.

        3.        Plaintiffs injuries, like those striking thousands of similarly situated victims across

 the country, were avoidable.




                                                                                                               Package:Q00004 of 0000^1
                                        JURISDICTION AND VENUE

         4 This Court has jurisdiction over Defendant and this action because the Plaintiffs

 exposure to Foundup®occurred in Marion County, Kentucky, and because the Defendant

 marketed, advertised, and distributed the dangerous product in Marion County, Kentucky, and a

 substantial part of the acts and/or omissions giving rise to these claims occurred in Marion

 County, Kentucky. Rirthermore, Defendant does substantial business in Marion County,

 Kntucky.




                                                                                                            P resid in g Ju d g e . HON. KAELIN G. REED (611402)
                                                 PARTIES

         5.        At the time of his exposure to Found up® Plaintiff Owen Mattingly was a citizen

 and resident of Lebanon, Marion County, Kentucky.

         6.        Plaintiff brings this action for personal injuries sustained by exposure to

 Roundup® (“Roundup”) containing the active ingredient glyphosate and the surfactant

  polyethoxylated tallow amine (“POEA”). As a direct and proximate result of being exposed to

  Foundup, Plaintiff developed a form of Nrn"Hodgkin’s Lymphoma.

         7.        Roundup refers to all formulations of Defendant’s Roundup products, including,

  but not limited to, Roundup Concentrate Poison Ivy and Tough Brush Killer 1, Roundup Custom

  Herbicide, Roundup D-Pak Herbicide, Roundup Dry Concentrate, Roundup Export Herbicide,
                                                                                                            ackage . 000004 of 000041




  Roundup Fence & Hard Edger 1, Roundup Garden Foam Weed & Grass Killer, Roundup Grass

  and Weed Killer, Roundup Herbicide, Roundup Original 2k Herbicide, Roundup Original II

  Herbicide, Roundup Pro Concentrate, Roundup Prodry Herbicide, Roundup Promax, Roundup
                                                      2
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    QiickStikQass and ^(^ed Kller, Foundup Qdckpro Herbicide, Foundup Kainfast

    Concentrate W:ed &G‘ass Kller, Foundup Fainfast Super Concentrate W:ed &Gass Kller,

    Foundup Feady'to'LIe Extended Control Wied &Gass Kller 1 Plus \%ed Preventer,

    Foundup Feady'to-'Ue W:ed &Gass Kller, Foundup Feady-to-Ue ^X^ed and Gass Kller 2,




                                                                                                                      Package.000005 of 0000^1
    Foundup Utra Dry, Foundup Utra tFrbicide, Foundup Utramax, Foundup Mvl Hnbicide,

    Foundup XC^ed (Sigrass Kller Concentrate, Foundup W;ed &Gass Kller Concentrate Plus,

     Foundup Wied &Gass Kller Feady-to-Ue Plus, Foundup XC^ed &Gass Kller Super

    Concentrate, Foundup W:ed &Gass Kller 1 Feady-to-Lle, Foundup XC0D X(4ter Soluble Dry

     Herbicide Deploy Dry Herbicide, or any other formulation containing the active ingredient

     glyphosate.




                                                                                                                      Presiding Judge. HON. KAELIN G. REED (611402)
             8.          Defendant, Monsanto Company is a Delaware corporation, with its principal place

     of business in St. Louis, Missouri, which caused tortious injury to the Plaintiff by acts and

     omissions in and outside this Commonwealth. Pursuant to KFS4-522lO(3)(a)(3), the Secretary

     of State of the Commonwealth of Kentucky is deemed to be the statutory agent of Monsanto for

     service of process.

             9.          Defendant Monsanto Company is collectively referred to as “Monsanto” or

     “Defendant.”

             id          Defendant advertises and sells goods, specifically Roundup, in the State of

     Kentucky.

             11.         Defendant transacted and conducted business that relates to the allegations in
                                                                                                                      Package 000005 of 000041




     this Complaint within the State of Kentucky and the County of Marion.

             12.         Defendant expected or should have expected its acts to have consequences within

     the State of Kentucky.
                                                          3


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         l3.       Defendant engaged in the business of designing, developing, manufacturing,

  testing, pacl<aging, marketing, distributing, labeling, and/or selling Bound up and derived

  substantial revenue from goods and products used in the Sate of Kentucky and the County of




                                                                                                             Package.000006 of 000041
  Marion.

            l4     l-Jpon information and belief, Defendant did design, sell, advertise, manufacture

  and/or distribute Bound up, with full knowledge of its dangerous and defective nature,

                                      FACTUAL ALLEGATIONS

            15. A: all relevant times, Defendant was in the business of, and did, design,

  research, manufacture, test, advertise, promote, market, sell, distribute, and/or has acquired and

  is responsible for the commercial herbicide Boundup.




                                                                                                          P resid in g J u d g e . HON. KAELIN G REED (611402)
            16. Monsanto is a multinational agricultural biotechnology corporation based in S. Louis,

  Missouri. It is the world’s leading producer of glyphosate,

            l7 Defendant discovered the herbicidal properties of glyphosate during the 1970’s and

  subseqrently began to design, research, manufacture, sell and distribute glyphosate based

  “Roundup” as a broad-spectrum herbicide.

            18. Gyphosate is the active ingredient in Boundup.

            19. Gyphosate is a broad-spectrum herbicide used to kll weeds and grasses known to

  compete with commercial crops grown around the globe.

            20. Glyphosate is a “non-selective” herbicide, meaning it kills indiscriminately based only

  on whether a given organism produces a specific enzyme, S-enolpyruvylshikimic acid-3-phosphate
                                                                                                            Package : 000006 of 000041




  synthase, known as EPSP synthase.

            21. Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-phosphate synthase that

  interferes with the shikimic pathway in plants, resulting in the accumulation of shikimic acid in

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    plant tissue and ultimately plant death.

             22. Splayed as a liquid, plants absorb glyphosate directly thiough their leaves, stems, and

    roots, and detectable quantities accumulate in the plant tissues.




                                                                                                           Package-000007 of 000041
             23. Each year, approximately 250million pounds of glyphosate are sprayed on crops,

    commercial nurseries, suburban lawns, parks, and golf courses. This increase in use has been

    driven largely by the proliferation of genetically engineered crops, crops specifically tailored to

    resist the activity of glyphosate.

             24 Defendant is intimately involved in the development, design, manufacture,

    marketing, sale, and/or distribution of genetically modified (“GMO”) crops, many of which are

    marketed as being resistant to Found up i,e,, “Roundup Ready©.” In 2010, an estimated 70% of




                                                                                                            Presiding Judge: HON. KAELIN G REED (611-102)
    corn and cotton, and 9C%of soybean fields in the Lliited States contained Foundup Feady®

    seeds.

             25. The original Foundup, containing the active ingredient glyphosate, was introduced in

    1974. Today, glyphosate products are among the world’s most widely used herbicides.1

             26.      Rn nearly 40years, consumers, farmers, and the public have used Foundup,

    unaware of its carcinogenic properties.

                      REGISTRATION OF HERBICIDES UNDER FEDERAL LAW

             27. The manufacture, formulation and distribution of herbicides, such as Roundup, are

    regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C.

     §136 et seq, FIFRA requires that all pesticides be registered with the Environmental Protection
                                                                                                           Package • 000007 of 000041




    Agency (“EPA”) prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C.*




             ‘Backgrounder, History of Monsanto’s Glyphosate Herbicides, June 2005.

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   §l36a(a).

           28. The EpAreCfjires as part of the registration process, among other requirements, a

   variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

   potential non-target organisms, and other adverse effects on the environment. Registration by




                                                                                                            P a c k a g e . 000008 of 000041
   the EpA however, is not an assurance or finding of safety. The determination the EpAmakes in

   registering or re-registering a product is not that the produce is “safe,” but rather that use of the

   produce in accordance with its label directions “will not generally cause unreasonable adverse

   effects on the environment.” 7 U.S.C. §136(a) (c) (5) (d).

           29. FIFRA defines “unreasonable adverse effects on the environment” to mean "any

   unreasonable riskto man or the environment, taking into account the economic, social, and




                                                                                                           ^ re sid in g J u d g e HON. KAELIM G. REED (611402)
   environmental costs and benefits of the use of any pesticide.” 7 U.S.C. §136(bb). FIFRA thus

    requires the EpAto make a risk/kenefit analysis in determining whether a registration should be

   granted or allowed to continue to be sold in commerce.

           30. The EkAand the State of Kentucky registered Roundup for distribution, sale and

    manufacture in the Urited States and the State of Kentucky.

           31. FlERAgenerally reqtires that the registrant, Monsanto, conduct health and safety

    testing of pesticide products. The government is not reqtired, nor is it able, to perform the

    product tests that are required of the manufacturer.

           32. The evaluation of each pesticide product distributed, sold or manufactured is

    completed at the time the product is initially registered. The data necessary for registration of a
                                                                                                             P a ck a g e 000008 of 000041




    pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

    products through a Congressionally--mandated process called “re-registration.” 7 U.S.C. §1136a-

    1. In order to reevaluate these pesticides, the EPA demands the completion of additional tests
                                                      6


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and the submission of data for the EPA’s review and evaluation.

       33. In the case of glyphosate and Boundup, the EpAplanned to release its

preliminary risk assessment - in relation to the registiation process - no later than July, 20l5.

The EpAcompleted its review of glyphosate in early 20l5, but delayed releasing the assessment




                                                                                                    Package:000Q Q 3 of 000041
pending further review in light of the World Health Organization’s March 24, 2015, finding that

glyphosate is a “probable carcinogen” as demonstrated by the mechanistic evidence of

carcinogenicity in humans and sufficient evidence of carcinogenicity in animals.

                 MONSANTO’S FALSE REPRESENTATIONS REGARDING
                          THE SAFETY OF ROUNDUP®

        34. In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against Monsanto

based on its false and misleading advertisement of Foundup products. Specifically, the lawsuit




                                                                                                    P-esidmg Judge. HON. KAELIN G. REED (611402)
challenged Monsanto’s general representations that its spray on glyphosate'based herbicides,

including Roundup, were “safer than table salt” and “practically nori'toxic” to mammals, birds

and fish. Anong the representations the NYA3found deceptive and misleading about the

human and environmental safety of Foundup weie the following:

        a) Femember that environmentally friendly Foundup herbicide is biodegradable. It
           won’t build up in the soil so you can use Roundup with confidence along customers’
           driveways, sidewalks and fences ....

        b) And remember that Roundup is biodegradable and won’t build up in the soil, That
           will give you the environmental confidence you need to use Roundup everywhere
           you’ve got a weed, brush, edging or trimming problem.

        c) Roundup biodegrades into naturally occurring elements.
                                                                                                    Package 000009 of 000041




        d) Remember that versatile Roundup herbicide stays where you put it. That means
           there’s no washing or leaching to harm customers’ shrubs or other desirable
           vegetation.

        e) This nomresidual herbicide will not wash or leach in the soil. It.... stays where you
           apply it.
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       f) You can apply Accord with “confidence because it will stay where you put it” [;] it
          bonds tightly to soil particles, preventing leaching. Then, soon after application, soil
          microorganisms biodegrade Axord into natural products,

       g) Gyphosate is less toxic to rats than table salt following acute oral ingestion.




                                                                                                           Package:O0QO1G of 000041
        h) Glyphosate’s safety margin is much greater than required. It has over a 1,COO-fold
           safety margin in food and over a 7CD-fold safety margin for workers who manufacture
           it or use it.

        i) You can feel good about using herbicides by Monsanto. They carry a toxicity category
           rating of ‘practically non-toxic’ as it pertains to mammals, birds and fish.

        j)    “Roundup can be used where kids and pets will play and breaks down into natural
              material.” This ad depicts a person with his head in the ground and a pet dog
              standing in an area which has been treated with Boundup.2

        35. On November l9, l996, Monsanto entered into an Asurance of Discontinuance with




                                                                                                        P resid in g Ju d g e : HON. KAELIN G. REED (611402)
NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing or

broadcasting any advertisements [in New York] that represent, directly or by implication” that:

        a) Its glyphosate-containing pesticide products or any component thereof are safe, non­
           toxic, harmless or free from risk

        b) Its glyphosate-containing pesticide products or any component thereof manufactured,
           formulated, distributed or sold by Monsanto are biodegradable.

        c) Its glyphosate-containing pesticide products or any component thereof stay where
           they are applied under all circumstances and will not move through the environment
           by any means.

        d) Its glyphosate-containing pesticide products or any component thereof are “good” for
           the environment or are “known for their environmental characteristics.”

        e) Glyphosate-containing pesticide products or any component thereof are safer or less
           toxic than common consumer products other than herbicides.
                                                                                                          Package : 000010 of 000041




        f)    Its glyphosate-containing pesticide products or any component thereof might be
              classified as “practically non-toxic.”

        2 Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance of
Discontinuance Pursuant to Executive Law § 63(15) (Nov. 1996.)

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          36. Monsanto did not alter its advertising in the same manner in any state other than

 NLw York, and on information and belief still has not done so today.

          37 In 2009, France’s highest court ruled that Monsanto had not told the truth about the




                                                                                                                                   Package.00001 1 of 000041
 safety of Boundup. The Rench court affirmed an earlier judgment that Monsanto had falsely

 advertised its herbicide Roundup as “biodegradable” and that it “left the soil clean.”3

                           EVIDENCE OF CARCINOGENICITY IN ROUNDUP

          38. As early as the 1980’s Monsanto was aware of glyphosate’s carcinogenic properties.

          39. On March 4, 1985, a group of the Environmental Protection Agency’s (“EPA”)

 Toxicology Branch published a memorandum classifying glyphosate as a Category C oncogene.4

          43. In 1986, the EpAissued a Begistration Standard for glyphosate (NPlS




                                                                                                                                P resid in g J u d g e . HON. KAELIN G. REED (511402)
 PB87tQ32i4). The Begistration standard reCfiired additional phytotoxicity, environmental fate,

 toxicology, product chemistry, and residue chemistry studies. Al of the data reCpired was

 submitted and reviewed and/or waived.5

          41. hi October 1991, the EPA published a Memorandum entitled “Second Peer Review of

 Glyphosate.” The memorandum changed glyphosate’s classification to Group E (evidence of

 non -carcinogen ici ty for humans.). Two peer review committee members did not concur with the

 conclusions of the committee and one member refused to sign.6

          42. In addition to the toxicity of the active molecule, many studies support the hypothesis

 that glyphosate formulations found in Defendant’s Roundup products are more dangerous and
                                                                                                                                  PacKage . 000011 of 000041




          3 Monsanto Guilty in 'False Ad' Row, BBC, Oct. 15, 2009, available at htip://new6.bbc,co.uk/2/hi/euiope/8308903.stm
          4 Consensus Review of Glyphosate, Casewell No. 661A. March 4, 1985. United States Environmental
 Protection Agency.
          5 http://www.epa.gov/oppsrrdlAereeisttation/REDs/factsheets/0178fact.pdf
          6 Second Peer Review of Glyphosate, CAS No. 1071-83'6, October 30, 1881. United States
 Environmental Protection Agency.

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    toxic than glyphosate alone, / A early as l99l evidence existed demonstrating that glyphosate
                                                                                     o
    formulations were significantly more toxic than glyphosate alone,

             43. In 2002, Julie Marc published a study entitled “Pesticide Roundup Provokes Cell




                                                                                                                     Package.000012 of 000041
    Division Dysfunction at the Level of CDKl/Cyclin B Activation.”

             44 The study found that Defendant’s Roundup caused delays in the cell cycles of sea

    urchins, while the same concentrations of glyphosate alone proved ineffective and did not alter

    cell cycles.

             45. In 2004, Julie Marc published a study entitled “Glyphosate-based pesticides affect

    cycle cell regulation.” The study demonstrated a molecular link between glyphosate-based

    products and cell cycle dysregulation.




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             46. The study noted that “cell-cycle dysregulation is a hallmark of tumor cells and human

    Cancer. Riilure in the cell-cycle checkpoints leads to genomic instability and subsequent

    development of cancers from the initial affected cell.” Further, “[s]ince cell cycle disorders such

    as cancer result from dysfunction of uniCJje cells, it was of interest to evaluate the threshold dose
                                        Q
    of glyphosate affecting cells.”

             47. In 2005, Francisco Peixoto published a study showing that Roundup’s effects on rat

    liver mitochondria are much more toxic and harmful than the same concentrations of glyphosate

    alone.

             48.       The Peixoto study suggested that the harmful effects of Roundup on

    Mitochondrial bioenergetics could not be exclusively attributed to glyphosate and could be the
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             7Martinez et al. 2007; Benachour 2009; Gasnier et al, 2010; Peixoto 2005; Marc 2004
             8 Martinez et al 1991
             9 (Molinari, 20000; Stewart et al., 2003)

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lesuk of other chemicals, namely the surfactant POEA, or alternatively due to the possible

synergy between glyphosate and Foundup formulation products.

        49. in 2009, Nb ra Benachour and Qlles-Bic Seralini published a study examining the

effects of Foundup and glyphosate on human umbilical, embryonic, and placental cells,




                                                                                                    P ack ag e 000013 of 000041
        50. The study used dilution levels of Foundup and glyphosate far below agricultural

recommendations, corresponding with low levels of residues in food. The study concluded that

supposed “inert” ingredients, and possibly POEA, change human cell permeability and amplify

toxicity of glyphosate alone. The study further suggested that determinations of glyphosate

toxicity should take into account the presence of adjuvants, or those chemicals used in the

formulation of the complete pesticide. The study confirmed that the adjuvants in Foundup are




                                                                                                  P resid in g J u d g e HON. KAELIN G. REED (611402}
not inert and that Foundup is always more toxic than its active ingredient glyphosate.

        51. The results of these studies were confirmed in recently published peer-reviewed

studies and were at all times available and/or known to Defendant.

        52. Defendant kiew or should have khown that Foundup is more toxic than glyphosate

 alone and that safety studies on Roundup, Roundup’s adjuvants and “inert” ingredients, and/or

 the surfactant POEAwere necessary to protect Plaintiff from Foundup.

        53. Defendant knew or should have known that tests limited to Roundup’s active

 ingredient glyphosate were insufficient to prove the safety of Roundup.

        54. Defendant failed to appropriately and adequately test Roundup, Roundup’s adjuvants

 and “inert” ingredients, and/or the surfactant POEA to protect Plaintiff from Roundup.
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        55. Rather than performing appropriate tests, Defendant relied upon flawed industry-

 supported studies designed to protect Defendant’s economic interests rather than Plaintiff and

 the consuming public.
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       56. Despite its knowledge that Found up was considerably more dangerous than

glyphosate alone, Defendant continued to promote Foundup as safe.

                                IARC CLASSIFICATION OF GLYPHOSATE

       57. The International Agency for Research on Cancer (“IARC”) is the specialized




                                                                                                          Package:O0OO14 of 000041
intergovernmental cancer agency the World Health Organization (“WHO”) of the United

Nations tasked with conducting and coordinating research into the causes of cancer.

       58. Ai lAFC Advisory Group to Fecommend Priorities for lAFC Monographs during

20l 5'20l 9 met in A^ril 20l4 Though nominations for the review were solicited, a substance

must meet two criteria to be eligible for review by the lAFC Monographs; (i) there must already

be some evidence of carcinogenicity of the substance, and (ii) there must be evidence that




                                                                                                       P re sid in g J u d g e . HON. KAELIN G. REED (611402)
humans are exposed to the substance.

        59. lAFC set glyphosate for review in 20l 5'20l6, lAFC uses five criteria for determining

priority in reviewing chemicals: (i) the substance must have a potential for direct impact on

public health; (ii) scientific literature to support suspicion of carcinogenicity; (iii) evidence of

significant human exposure; (iv) high public interest and/or potential to bring clarity to a

controversial area and/or reduce public anxiety or concern; and (v) related agents similar to one

given high priority by the above considerations. Data reviewed is sourced preferably from

publicly accessible, peer-reviewed data.

        60. On March 24, 2015, after its cumulative review of human, animal and DMA studies

for more than one (1) year, many of which have been in Defendant’s possession since as early as
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1985, the IARC’s working group published its conclusion that the glyphosate contained in

Defendant’s Roundup herbicide is a Class 2A “probable carcinogen” as demonstrated by the

mechanistic evidence of carcinogenicity in humans and sufficient evidence of carcinogenicity in
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  animals,

         6l. The IARC’s full Monograph was published on July 29, 2015, and established

  glyphosate as a class 2AptolxHe carcinogen to humans. According to the authors glyphosate




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  demonstrated sufficient mechanistic evidence (genotoxicity and oxidative stress) to warrant a 2A

  classification based on evidence of carcinogenicity in humans and animals.

         62 The lARC Wrrking Goup found an increased riskbetween exposure to glyphosate

  and non-Hodgkin's lymphoma (“NHL”) and several subtypes of NHL, and the increased risk

  continued after adjustment for other pesticides.

         63. The lARC also found that glyphosate caused DNAand chromosomal damage in

  human cells.




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                            EARLIER EVIDENCE OF GLYPHOSATE^ DANGER

          64- Despite the new classification by the lARC, Defendant has had ample evidence of

  glyphosate and Roundup’s genotoxic properties for decades.

          65. Gnotoxicity refers to chemical agents that are capable of damaging the DNAwithin

  a cell through genetic mutations, which is a process that is believed to lead to cancer.

          66. In 1997, Chris Clements published “Genotoxicity of select herbicides in RctnU

  c£iesfcte!<3ri£f tadpoles using the all<aline single-cell gel DNA electrophoresis (comet) assay.”

             67. The study found that tadpoles exposed to Roundup showed significant DNA damage

  when compared with unexposed control animals.

             68. Both human and animal studies have shown that glyphosate and glyphosate-based
                                                                                                        P a c k a g e : 000015 of 000041




  formulations such as Roundup can induce oxidative stress.

             69. Oxidative stress and associated chronic inflammation are believed to be involved in

  carcinogenesis.
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          70. The IARC Monograph notes that “[s]trong evidence exists that glyphosate, AmpA

   and glyphosate-based formulations can induce oxidative stress.”

          71. In 2006, Cesar PaZ-y-Mifto published a study examining DNAdamage in human




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   subjects exposed to glyphosate.

          72. The study produced evidence of chromosomal damage in blood cells showing

   significantly greater damage after exposure to glyphosate than before in the same individuals,

   suggesting that the glyphosate formulation used during aerial spraying had a genotoxic effect on

   exposed individuals.

          73. The lARC Monograph reflects the volume of evidence of glyphosate pesticides’

   genotoxicity noting “[t]he evidence for genotoxicity caused by glyphosate-based formulations is




                                                                                                       P resid in g J u d g e HON. KAELIM G. REED {611402}
   strong.”

           74 Despite knowledge to the contrary, Defendant maintains that there is no evidence

   that Rrundup is genotoxic, that regulatory authorities and independent experts are in agreement

   that Poundup is not genotoxic, and that there is no evidence that Pound up is genotoxic.

              75. In addition to glyphosate and Roundup’s genotoxic properties, Defendant has long

   been aware of glyphosate’s carcinogenic properties.

              76. Gyphosate and Poundup in particular have long been associated with carcinogenicity

   and the development of numerous forms of cancer, including, but not limited to, non-Hodgkin’s

   lymphoma, Hodgkin’s lymphoma, multiple myeloma, and soft tissue sarcoma.

              77. Defendant has known of this association since the early to mid-1980s and numerous
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   human and animal studies have evidenced the carcinogenicity of glyphosate and/or Roundup.

              78. In 1985, the EPA studied the effects of glyphosate in mice finding a dose related

   response in male mice linked to renal tubal adenomas, a rare tumor. The study concluded the

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glyphosate was oncogenic.

       79. In 2003, Lennart Hard ell and Mikael Eriksson published the results of two case

controlled studies on pesticides as a riskfactor for NHLand hairy cell leukemia,




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       80. The study concluded that glyphosate had the most significant relationship to NHL

among all herbicides studies with an increased odds ratio of 3.11.

       81. In 2003, AJ De Boos published a study examining the pooled data of mid'western

farmers, examining pesticides and herbicides as riskfactors for NHL

       82 The study, which controlled for potential confounders, found a relationship between

increased NHL incidence and glyphosate.

       83. In 2008, Mikael Hiksson published a population based case-control study of exposure




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to various pesticides as a riskfactor for NHL

       84. This strengthened previous associations between glyphosate and NHL

       85. In spite of this knowledge, Defendant continued to issue broad and sweeping

statements suggesting that Foundup was, and is, safer than ordinary household items such as

table salt, despite a lackof scientific support for the accuracy and validity of these statements

and, in fact, voluminous evidence to the contrary.

        86.4 on information and belief, these statements and representations have been made

with the intent of inducing Plaintiff, the agricultural community, and the public at large to

purchase and increase the use of Defendant’s Roundup for Defendant’s pecuniary gain, and in

fact, did induce Plaintiff to use Roundup.
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        87. Defendant made these statements with complete disregard and reckless indifference

to the safety of Plaintiff and the general public.

        88. Notwithstanding Defendant’s representations, scientific evidence has established a
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     clear association between glyphosate and genotoxicity, inflammation, and an increased riskof

     many cancers, including, but not limited to, NHL, Multiple Myeloma, and soft tissue sarcoma,

             89. Defendant knew or should have known that glyphosate is associated with an

     increased tiskof developing cancer, including, but not limited to, NHL, Multiple Myeloma, and




                                                                                                                 Package:000018 of 000041
     soft tissue sarcomas.

              90. Defendant failed to appropriately and adeCJaately inform and warn Plaintiff of the

     serious and dangerous risks associated with the use of and exposures to glyphosate and/or

     Boundup, including, but not limited to, the riskof developing NHL, as well as other severe and

     personal injuries, which are permanent and/or long-lasting in nature, cause significant physical

     pain and mental anguish, diminished enjoyment of life, and the need for medical treatment,




                                                                                                             P resid in g ju d g e . HON KAELIN G. REED (611402)
     monitoring and/or medications.

              91. Despite the lARC’s classification of glyphosate as a class 2 A probable carcinogen,

     Defendant continues to maintain that glyphosate and/or Boundup is safe, non-carcinogenic, non-

     genotoxic, and falsely warrant to users and the general public that independent experts and

     regulatory agencies agree that there is no evidence of carcinogenicity or genotoxicity in

     glyphosate and Boundup.

              92. Defendant has claimed and continues to claim that Boundup is safe, non-

     carcinogenic, and non-genotoxic. These misrepresentations are consistent with Defendant’s

      cavalier approach to investigation and ensuring the safety of its products, the safety of the public

      at large, and the safety of Plaintiff.
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      SCIENTIFIC FRAUD UNDERLYING SAFETY DETERMINATIONS OF GLYPHOSATE

              93. After the EPA’s 1985 classification of glyphosate as possibly carcinogenic to humans

      (Group C), Monsanto exerted pressure upon the EPA to change its classification.
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          94- This culminated in the EPA’s reclassification of glyphosate to Group E, which was

   based upon evidence of non-carcinogenicity in humans.

          95. In so classifying, the EPA stated that “[i]t should be emphasized, however, that

   designation of an agent in Goup Eis based on the available evidence at the time of evaluation




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   and should not be interpreted as a definitive conclusion that the agent will not be a carcinogen

   under any circumstances.”

          96. On two occasions, the EpAfound that laboratories hired by Monsanto to test the

   toxicity of its Found up products for registration purposes committed scientific fraud.

          97. In the first instance, Monsanto hired Industrial Bio-Test Laboratories ("IBT”) to

   perform and evaluate pesticide toxicology studies relating to Foundup. IBT performed




                                                                                                          Presiding Judge. HON. KAELIN G REED (611402)
   approximately 30 tests on glyphosate and glyphosate-containing products, including 11 of the l9

   chronic toxicology studies needed to register Foundup with the EpA

           98. In 1976, the Food and Drug Administration (“FDA”) performed an inspection of

   IBT and discovered discrepancies between the raw data and the final report relating to

   toxicological impacts of glyphosate. The EfAsubseCpently audited IBT and determined that the

   toxicology studies conducted for Foundup were invalid, Ai EpAreviewer stated, after finding

   “routine falsification of data” at IBT, that it was “hard to believe the scientific integrity of the

   studies when they said they took specimens of the uterus from male rabbits.”

           99. Three top executives of IBT were convicted of fraud in 1983.

           100.    In the second incident, Monsanto hired Craven Laboratories ("Craven”) in 1990
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   to perform pesticide and herbicide studies, including several studies on Roundup.

           101.    In March of 1991, the EPA announced that it was investigating Craven for

   “allegedly falsifying test data used by chemical firms to win EPA approval of pesticides.”
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            iQZ        The investigation lead to the indictments of the laboratory owner and a handful of

    employees,

                           MONSANTO’S CONTINUING DISREGARD FOR THE
                              SAFETY OF PLAINTIFF AND THE PUBLIC




                                                                                                                 Package'000020 of 000041
            103.       Monsanto claims on its website that “[r]egulatory authorities and independent

    experts around the world have reviewed numerous long'term/carcinogenicity and genotoxicity

    studies and agree that there is no evidence that glyphosate, the active ingredient in Roundup

    brand herbicides and other glyphosate-based herbicides, causes cancer, even at very high doses,

    and that it is not genotoxic,”10

            104.       Ironically, the primary source for this statement is a 1966report by the          the

    same organization that now considers glyphosate to be a probable carcinogen.




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            lQ5.       Glyphosate, and Defendant’s Roundup products in particular, have long been

    associated with serious side effects and many regulatory agencies around the globe have banned

    or are currently banning the use of glyphosate herbicide products.

            106.        Defendant’s statements proclaiming the safety of Roundup and disregarding its

    dangers misled Plaintiff.

            107.        Despite Defendant’s knowledge that Roundup was associated with an elevated

    risk of developing cancer, Defendant’s promotional campaigns focused on Roundup’s purported

    “safety profile.”

            108.        Defendant’s failure to adequately warn Plaintiff resulted in (1) Plaintiff using and
                                                                                                                 ackage - 000020 of 000041




    being exposed to glyphosate instead of using another acceptable and safe method of controlling

    unwanted weeds and pests; and (2) scientists and physicians failing to warn and instruct


            10 Backgrounder-Glvphosate: No Evidence of Carcinogenicity. Updated November 2014.

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   consumers about the riskof cancer, including NHL, and other injuries associated with Found up.

            l09. Defendant failed to seekmodification of the labeling of Foundup to include

   relevant information regarding the risks and dangers associated with Foundup exposure.




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            1 lO.    The failure of Defendant to appropriately warn and inform the EPAlias resulted

   in inadeGfjate warnings in safety information presented directly to users and consumers.

             111.     The failure of Defendant to appropriately warn and inform the EPAlias resulted

   in the absence of warning or caution statements that are adeCJiate to protect health and the

   environment.

             1 iZ     The failure of Defendant to appropriately warn and inform the EPAlias resulted

   in directions for use that are not adequate to protect health and the environment.




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             113,     By reason of the foregoing acts and omissions, Plaintiff seeks compensatory

   damages as a result of Plaintiffs use of, and exposure to, Roundup which caused or was a

    substantial contributing factor in causing Plaintiff to suffer from cancer, specifically NHL, and

    Plaintiff suffered severe and personal injuries which are permanent and lasting in nature, physical

    pain and mental anguish, including diminished enjoyment of life.

             114     By reason of the foregoing, Plaintiff is severely and permanently injured.

             115.    By reason of the foregoing acts and omissions, Plaintiff has endured, and continues

    to suffer, emotional and mental anguish, medical expenses, and other economic and non­

    economic damages, as a result of the actions and inactions of the Defendant.

                PLAINTIFF OWEN A, MATTINGLY’S EXPOSURE TO ROUNDUP
                                                                                                            P a c k a g e : 000021 of 000041




             116.    Plaintiff OWEN A. MATTINGLY’s exposure to Roundup began in approximately

    2011.

             117.     For years, Plaintiff personally mixed and/or sprayed Roundup while working on
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 his parents’ farm in Lebanon, Marion County, Kentucky. Plaintiff followed all safety and

 precautionary warnings during the course of use.

         118.      Plaintiff was subseC[jently diagnosed with a form of ISbn-Hodgkin’s Lymphoma.




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 The development of Plaintiff s Non'Hodgkin’s Lymphoma was proximately and actually caused

 by exposure to Defendant’s Roundup products.

         119.      A a result of his injury, Plaintiff has incurred significant economic and non'

 economic damages.

         EQUITABLE tolling of applicable statute of limitations

         120.      Plaintiff incorporates by refeience all prior paragraphs of this Complaint as if fully

 set forth herein.




                                                                                                            P resid in g ju d g e HON. KAELIN G. REED (61-1402)
         121.      The running of any statute of limitations has been tolled by reason of Defendant’s

 fraudulent concealment. Defendant, through its affirmative misrepresentations and omissions,

 actively concealed from Plaintiff the true risks associated with Boundup and glyphosate.

         l22        A all relevant times, Defendant has maintained that Boundup is safe, non-toxic

 and noii'carcinogenic.

         l23.     Indeed, even as of June, 20l9, Defendant continues to represent to the public that

 “Regulatory authorities and independent experts around the world have reviewed numerous

 long-term/carcinogenicity and genotoxicity studies and agree that there is no evidence that

 glyphosate, the active ingredient in Roundup® brand herbicides and other glyphosate-based

 herbicides, causes cancer, even at very high doses, and that it is not genotoxic” (emphasis
                                                                                                               P a c k a g e 000022 of 000041




 added).11




         11 Backgrounder - Glyphosate; No Evidence of Carcinogenicity. Updated November 2014.

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        124.    As a result of Defendant’s actions, Plaintiff was unaware, and could not

reasonably know or have learned through reasonable diligence that Foundup and/or glyphosate

contact, exposed Plaintiff to the risks alleged herein and that those risks were the direct and




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proximate result of Defendant’s acts and omissions.

        125.    Rirthermore, Defendant is estopped from relying on any statute of limitations

because of its fraudulent concealment of the true character, quality and nature of Boundup.

 Defendant was under a duty to disclose the true character, CJrality and nature of Foundup

 because this was non-public information over which Defendant had and continues to have

 exclusive control, and because Defendant knew that this information was not available to

 Plaintiff or to distributors of Foundup. In addition, Defendant is estopped from relying on any




                                                                                                    Presiding Judge. HON KAELIN G. REED (611402)
 statute of limitations because of its intentional concealment of these facts.

         126.   Plaintiff had no knowledge that Defendant was engaged in the wrongdoing alleged

 herein. Because of the fraudulent acts of concealment of wrongdoing by Defendant, Plaintiff

 could not have reasonably discovered the wrongdoing at any time prior. Also, the economics of

 this fraud should be considered. Defendant had the ability to and did spend enoimous amounts

 of money in furtherance of its purpose of marketing, promoting and/or distributing a profitable

 herbicide, notwithstanding the known or reasonably known risks. Plaintiff and medical

 professionals could not have afforded and could not have possibly conducted studies to determine

 the nature, extent and identity of related health risks, and were forced to rely on only the

 Defendant’s representations. Accordingly, Defendant is precluded by the discovery rule and/or
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 the doctrine of fraudulent concealment from relying upon any statute of limitations.




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                                                  COUNTI
                                                (NEGLIGENCE)

          127      Plaintiff repeats, reiterates and realleges each and every allegation of this

  Complaint contained in each of the foregoing paragraphs inclusive, with the same force and




                                                                                                             Package.000024 of 000041
  effect as if more fully set forth herein.

          128.     Defendant had a duty to exercise reasonable care in the designing, researching,

   testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or distribution of

  Pound up into the stream of commerce, including a duty to assure that the product would not

  cause users to suffer unreasonable, dangerous side effects.

          129.     Defendant failed to exercise ordinary care in the designing, researching, testing,

  manufacturing, marketing, supplying, promoting, packaging, sale, testing, quality assurance,




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  quality control, and/or disttibution of Poundup into interstate commerce in that Defendant knew

   or should have known that using Poundup created a high risk of unreasonable, dangerous side

   effects, including, but not limited to, the development ofNHk as well as other severe and

   personal injuries which ate permanent and lasting in nature, physical pain and mental anguish,

   including diminished enjoyment of life, as well as need for lifelong medical treatment,

   monitoring, and/or medications.

           130.     The negligence by the Defendant, its agents, servants, and/or employees, included

   but was not limited to the following acts and/or omissions:

                    a. Manufacturing, producing, promoting, formulating, creating, and/or designing
                       Roundup without thoroughly testing it;
                                                                                                            ackage : 000024 of 000041




                    b. Failing to test Roundup and/or failing to adequately, sufficiently, and properly
                       test Roundup;

                    c. Not conducting sufficient testing programs to determine whether or not
                       Roundup was safe for use; in that Defendant herein knew or should have
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                     loiown that Riundup was unsafe and unfit foi use by reason of the dangers to
                     its users;

               d. Nit conducting sufficient testing programs and studies to determine
                  Roundup’s carcinogenic properties even after Defendant had knowledge that
                  Found up is, was or could be carcinogenic;




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               e. Failing to conduct sufficient testing programs to determine the safety of “inert”
                  ingredients and/or adjuvants contained within Foundup, and the propensity of
                  these ingredients to render Foundup toxic, increase the toxicity of Foundup,
                  whether these ingredients are carcinogenic, magnify the carcinogenic
                  properties of Roundup, and whether or not “inert” ingredients and/or
                  adjuvants were safe for use;

               f.    Negligently failing to adeCJjately and correctly warn the Plaintiff, the public,
                     the medical and agricultural professions, and the EPAof the dangers of
                     Foundup;

               g. Negligently failing to petition the EpAto strengthen the warnings associated
                  with Foundup;




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                h. Ruling to provide adeCfjate cautions and warnings to protect the health of
                   users, handlers, applicators, and persons who would reasonably and foreseeably
                   come into contact with Foundup;

                i.   Negligently marketing, advertising, and recommending the use of Foundup
                     without sufficient knowledge as to its dangerous propensities;

                j.   Negligently representing that Foundup was safe for use for its intended
                     purpose, and/or that Foundup was safer than ordinary and common items
                     such as table salt, when, in fact, it was unsafe;

                k Negligently representing that Foundup had equivalent safety and efficacy as
                  other forms of herbicides;

                l.   Negligently designing Roundup in a manner, which was dangerous to its users;

                m. Negligently manufacturing Roundup in a manner, which was dangerous to its
                   users;
                                                                                                         P a c k a g e : 000025 of 000041




                n. Negligently producing Roundup in a manner, which was dangerous to its
                   users;

                o. Negligently formulating Roundup in a manner, which was dangerous to its
                   users;
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         Case MDL No. 2741 Document 2214-4 Filed 02/24/21 Page 28 of 44
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                   р. Concealing information from the Plaintiff while knowing that Bound up was
                      unsafe, dangerous, and/or non-conforming with EpAregulations;

                   CJ Impropeily concealing and/or misrepresenting information from the Plaintiff,
                      scientific and medical professionals, and/or EpA concerning the severity of




                                                                                                               Package:000026 of 000041
                      risks and dangers of Boundup compared to other forms of herbicides; and

                    r.   Negligently selling Boundup with a false and misleading label.

          l3l.     Defendant under-reported, underestimated, and downplayed the serious dangers

   of Boundup.

          l32       Defendant negligently and deceptively compared the safety risks and/or dangers of

   Boundup with common everyday foods such as table salt, and other forms of herbicides.

          l33.     Defendant was negligent and/or violated Kentucky law in the designing,




                                                                                                           P re sid in g ju d g e : HON. KAELIN G. REED fS11402)
   researching, supplying, manufacturing, promoting, packaging, distributing, testing, advertising,

   warning, marketing, and selling of Boundup in that it:

                    a. Ruled to use ordinary care in designing and manufacturing Boundup so as to
                       avoid the aforementioned risks to individuals when Boundup was used as an
                       herbicide;

                    b. Ruled to accompany its product with proper and/or accurate warnings
                       regarding all possible adverse side effects concerning the failure and/or
                       malfunction of Boundup;

                    с. Ruled to accompany its product with proper warnings regarding all possible
                       adverse side effects concerning the failure and/or malfunction of Boundup;

                    d. Failed to accompany its product with accurate warnings regarding the risks of
                       all possible side effects concerning Roundup;

                    e. Failed to warn Plaintiff of the severity and duration of such adverse effects, as
                                                                                                             P a c k a g e : 000026 of 000041




                       the warnings given did not accurately reflect the symptoms, or severity of the
                       side effects, including but not limited to, the development of NHL;

                    f.    Failed to conduct adequate testing, clinical testing and post-marketing
                          surveillance to determine the safety of Roundup;


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                 g. Ruled to conduct adeCJaate testing, clinical testing and post "marketing
                    surveillance to determine the safety of Boundup;

                 h. Negligently misrepresented the evidence of Roundup’s genotoxicity and
                    carcinogenicity; and

                  i.          otherwise careless and/or negligent.




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         134.     Despite the fact that Defendant knew or should have known that Boundup

caused, or could cause, unreasonably dangerous side effects, Defendant continued and continues

to market, manufacture, distribute, and/or sell Boundup to consumers, including the Plaintiff.

         135.     Defendant knew or should have known that consumers such as the Plaintiff would

foreseeably suffer injury as a result of Defendant’s failure to exercise ordinary care, as set forth

above.




                                                                                                           P resid in g J u d g e . HON. KAELIN G. REED {611402)
         136.     Defendant’s violations of law and/or negligence were the proximate cause of

Plaintiffs injuries, harm and economic loss, which Plaintiff suffered and/or will continue to suffer.

         137.     A a result of the foregoing acts and omissions, the Plaintiff suffered from serious

and dangerous side effects including, but not limited to, NHL, as well as other severe and

personal injuries which are permanent in nature, physical pain and mental anguish, diminished

enjoyment of life, and financial expenses for hospitalization and medical care. Rirther, Plaintiff

 suffered life "threatening NHL, and severe personal injuries, which are permanent and lasting in

nature, physical pain and mental anguish, including diminished enjoyment of life.

                                       COUNT II
                       (STRICT PRODUCTS LIABILITY - DESIGN DEFECT)
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         138.     Plaintiff repeats, reiterates and re-alleges each and every allegation of this

 Complaint contained in each of the foregoing paragraphs inclusive, with the same force and

 effect as if more fully set forth herein.
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            139.    A; all times herein mentioned, the Defendant designed, researched,

    manufactured, tested, advertised, promoted, sold, and distributed Foundup as hereinabove

    described that was used by the Plaintiff.




                                                                                                           Package.000028 o f 000041
            i4Q      Defendant’s Roundup was expected to and did reach the usual consumers,

    handlers, and persons coming into contact with said product without substantial change in the

    condition in which it was produced, manufactured, sold, distributed, and marketed by the

    Defendant.

             l4l.    A those times, Foundup was in an unsafe, defective, and inherently dangerous

    condition, which was dangerous to users, and in particular, the Plaintiff herein.

             142     The Foundup designed, researched, manufactured, tested, advertised, promoted,




                                                                                                          P resid in g Ju d g e . HON. K4EUM G. REED (611402)
     marketed, sold, and distributed by Defendant was defective in design or formulation in that,

     when it left the hands of the manufacturer and/or suppliers, the foreseeable risks exceeded the

     benefits associated with the design or formulation of Foundup.

             143.    The Foundup designed, researched, manufactured, tested, advertised, promoted,

     marketed, sold, and distributed by Defendant was defective in design and/or formulation, in that

     when it left the hands of the Defendant manufacturers and/or suppliers, it was unreasonably

     dangerous, unreasonably dangerous in normal use, and it was more dangerous than an ordinary

     consumer would expect.

             144.    At all times herein mentioned, Roundup was in a defective condition and unsafe,

     and Defendant knew or had reason to know that said product was defective and unsafe,
                                                                                                          °ackage . 000028 of 000041




     especially when used in the form and manner as provided by the Defendant. In particular,

     Defendant’s Roundup was defective in the following ways:

                      a. When placed in the stream of commerce, Defendant’s Roundup products were
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                      defective in design and formulation and, conseCfjently, dangerous to an extent
                      beyond that which an ordinary consumer would anticipate.

                 b. When placed in the stream of commerce, Defendant's Roundup products were
                    unreasonably dangerous in that they were hazardous and posed a grave riskof
                    cancer and other serious illnesses when used in a reasonably anticipated




                                                                                                          Package.000029 o f 000041
                    manner.

                 c. When placed in the stream of commerce, Defendant’s Roundup products
                    contained unreasonably dangerous design defects and were not reasonably safe
                    when used in a reasonably anticipated manner.

                 d. Defendant did not sufficiently test, investigate, or study its Found up products.

                 e. Exposure to Boundup presents a riskof harmful side effects that outweigh any
                    potential utility stemming from the use of the herbicide.

                 f.   Defendant knew or should have kiown at the time of marketing its Foundup
                      products that exposure to Foundup could result in cancer and other severe
                      illnesses and injuries.




                                                                                                        P resid in g J u d g e . HON. KAELIN G. REED (611402)
                 g. Defendant did not conduct adequate post-marketing surveillance of its
                    Foundup products.

        145.     Defendant kiew or should have kiown that at all times herein mentioned its

 Foundup was in a defective condition, and was and is inherently dangerous and unsafe.

        146      Plaintiff was exposed to Defendant’s Roundup, as described above, without

 knowledge of Roundup’s dangerous characteristics.

         147     At the time of the Plaintiffs use of and exposure to Roundup, Roundup was being

 used for the purposes and in a manner normally intended, as a broad-spectrum herbicide.

        148.     Defendant with this knowledge voluntarily designed its Roundup with a

 dangerous condition for use by the public, and in particular the Plaintiff.
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         149.    Defendant had a duty to create a product that was not unreasonably dangerous for

 its normal, intended use.

         150.    Defendant created a product that was and is unreasonably dangerous for its
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normal, intended use.

         i5i.      Defendant mark;ted and promoted a product in such a manner so as to make it

inherently defective as the Defendant downplayed these suspected, probable, and established

health risks inherent with the product’s normal, intended use.




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         152       The Found up designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was manufactured defectively in that Poundup left

the hands of Defendant in a defective condition and was unreasonably dangerous to its intended

users.

          153.     The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed by Defendant reached its intended users in the same defective and




                                                                                                         P resid in g J u d g e . HON. KAELIN G. REED (61 1402)
unreasonably dangerous condition in which the Defendant’s Roundup was manufactured.

          154.      Defendant designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed a defective product, which created an unreasonable riskto the

health of consumers and to the Plaintiff in particular, and Defendant is therefore strictly liable for

the injuries sustained by the Plaintiff.

          155.      Plaintiff could not, by the exercise of reasonable care, have discovered Roundup’s

defects herein mentioned or perceived its danger,

          1§6.      By reason of the foregoing, the Defendant has become strictly liable to the

Plaintiff for the manufacturing, marketing, promoting, distribution, and selling of a defective

product, Roundup.
                                                                                                          P a c k a g e . 000030 of 000041




          157.      Defendant’s defective design of Roundup amounts to willful, wanton, and/or

reckless conduct by Defendant.

          158.      Defects in Defendant’s Roundup were the cause or a substantial factor in causing
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   Plaintiffs injuries.

           l59.    Aa result of the foregoing acts and omission, Plaintiff developed NHL, and

   suffeied severe and personal injuries, which are permanent and lasting in nature, physical pain




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   and mental anguish, including diminished enjoyment of life, and financial expenses for

   hospitalization and medical caie.

                                       COUNT III
                     (STRICT PRODUCTS LIABILITY - FAILURE TO WARN)


           l6Q     Plaintiff repeats, reiterates and re-alleges each and every allegation of this

   Complaint contained in each of the foregoing paragraphs inclusive, with the same force and

   effect as if more fully set forth herein,




                                                                                                             Presiding Judge. HON KAELIN G. REED (611402)
            l6l.    Defendant has engaged in the business of selling, testing, distributing, supplying,

   manufacturing, marketing, and/or promoting Bound up, and through that conduct has knowingly

   and intentionally placed Bound up into the stream of commerce with full knowledge that it

   reaches consumers such as Plaintiff who are exposed to it through ordinary and reasonably

   foreseeable uses.

            l6Z     Defendant did in fact sell, distribute, supply, manufacture, and/or promote

   Boundup to Plaintiff. Aditionally, Defendant expected the Boundup that it was selling,

   distributing, supplying, manufacturing, and/or promoting to reach - and Roundup did in fact

   reach - consumers, including Plaintiff, without any substantial change in the condition of the

   product from when it was initially distributed by Defendant.
                                                                                                             P a ck a g e 000031 of 000041




            163.    At the time of manufacture, Defendant could have provided the warnings or

   instructions regarding the full and complete risks of Roundup and glyphosate-containing

   products because it knew or should have known of the unreasonable risks of harm associated
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  with the use of and/or exposure to such products.

          164.   A: all times herein mentioned, the aforesaid product was defective and unsafe in

  manufacture such that it was unreasonably dangerous to the user, and was so at the time it was




                                                                                                             Package:000032 of 000041
  distributed by Defendant and at the time Plaintiff was exposed to and/or ingested the product.

  The defective condition of Foundup was due in part to the fact that it was not accompanied by

  proper warnings regarding its carcinogenic qualities and possible side effects, including, but not

  limited to, developing non-Hodgkin’s lymphoma as a result of exposure and use,

          165.   Foundup did not contain a warning or caution statement, which was necessary

  and, if complied with, was adequate to protect the health of those exposed, in violation of 7

  USc. §i36j(a) (i)(E).




                                                                                                          P resid in g Ju d g e : HON. KAELiN G. REED (611402)
          166.    Defendant’s failure to include a warning or caution statement, which was

  necessary and, if complied with, was adequate to protect the health of those exposed, violated 7

  USC.§l36j(a)(l)© as well as the laws of the State of I^ntucky.

          167.    Defendant could have amended the label of Foundup to provide additional

  warnings.

          168.    This defect caused serious injury to Plaintiff, who used Foundup in its intended

   and foreseeable manner.

          l6Q.    At all times herein mentioned, Defendant had a duty to properly design,

   manufacture, compound, test, inspect, package, label, distribute, market, examine, maintain

   supply, provide proper warnings, and take such steps to assure that the product did not cause
                                                                                                           P a c k a g e : 000032 of 000041




   users to suffer from unreasonable and dangerous side effects.

          170.    Defendant labeled, distributed, and promoted the aforesaid product such that it

   was dangerous and unsafe for the use and purpose for which it was intended.
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           i7i.     Defendant failed to warn of the nature and scope of the side effects associated

   with Boundup, namely its carcinogenic properties and its propensity to cause or serve as a

   substantial contributing factor in the development of NHL




                                                                                                               Package:QQ0033 of 000041
           172      Defendant was aware of the probable conseQaences of the aforesaid conduct.

   Despite the fact that Defendant knew or should have known that Boundup caused serious

   injuries, Defendant failed to exercise reasonable care to warn of the dangerous carcinogenic

    properties and side effect (s) of developing NHLfrom Boundup exposure, even though these side

   effect (s) were known or reasonably scientifically khowable at the time of distribution, Defendant

   willfully and deliberately failed to avoid the conseCJjences associated with its failure to warn, and

    in doing so, Defendant acted with a conscious disregard for the safety of the Plaintiff.




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            l73.    -At the time of exposure, Plaintiff could not have reasonably discovered any defect

    in Boundup at any time prior through the exercise of reasonable care.

            174      Defendant, as the manufacturer and/or distributor of the subject product, is held

    to the level of knowledge of an expert in the field.

            175.     Plaintiff reasonably relied upon the skill, superior knowledge, and judgment of

    Defendant.

            176.     Hid Defendant properly disclosed the risks associated with Boundup products,

    Plaintiff would have avoided the risk of Mi by not using Roundup products.

            177.     The information that Defendant did provide or communicate failed to contain

    adequate warnings and precautions that would have enabled Plaintiff, and similarly situated
                                                                                                               Package : 000033 of 000041




    individuals, to utilize the product safely and with adequate protection. Instead, Defendant

    disseminated information that was inaccurate, false, and misleading, which failed to

    communicate accurately or adequately the comparative severity, duration, and extent of the risk
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   of injuries associated with use of and/or exposure to Foundup and glyphosate; continued to

   promote the efficacy of Foundup, even after it knew or should have known of the unreasonable

   risks from use or exposure; and concealed, downplayed, or otherwise suppressed, through

   aggressive marketing and promotion, any information or research about the risks and dangers of




                                                                                                             P a c k a g e 000034 of 000041
   exposure to Foundup and glyphosate.

           178.      To this date, Defendant has failed to adequately warn of the true risks of Plaintiffs

   injuries associated with the use of and exposure to Foundup.

           179.      A a result of its inadequate warnings, Defendant’s Roundup products were

   defective and unreasonably dangerous when they left the possession and/or control of Defendant,

   were distributed by Defendant, and ultimately used by Plaintiff.




                                                                                                             P resid in g Ju d g e - HON. KAELIN G. REED (611402)
           180.      A a direct and proximate result of Defendants actions as alleged herein, and in

   such other ways to be later shown, the subject product caused Plaintiff to sustain injuries as

   alleged herein.

                                            COUNT IV
                                 (breach of implied warranties)


           181.      Plaintiff repeats, reiterates, and re'alleges each and every allegation of this

   Complaint contained in each of the foregoing paragraphs inclusive, with the same force and

   effect all if more fully set forth herein.

           182.      At all times herein mentioned, the Defendant manufactured, distributed,

   compounded, recommended, merchandized, advertised, promoted, and sold Roundup as a broad-
                                                                                                             P a c k a g e . 000034 of 000041




   spectrum herbicide. These actions were under the ultimate control and supervision of

   Defendant.

           183.      At the time Defendant marketed, sold, and distributed Roundup for use by
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Plaintiff, Defendant knew of Roundup’s intended use and impliedly wai ranted the product to be

of merchantable Quality and safe and fit for this use.

        184.     The Defendant impliedly represented and warranted to Plaintiff and users of

 Poundup, the agricultural community, and/or the BpAthat Roundup was safe and of




                                                                                                       P a c k a g e 000035 of 000041
 merchantable Quality and fit for the ordinary purpose for which it was to be used.

         185.    These representations and warranties were false, misleading, and inaccurate in

 that Poundup was unsafe, unreasonably dangerous, not of merchantable Quality, and defective.

         186.    Plaintiff and/or the EPAdid rely on said implied warranty of merchantability of

 fitness for particular use and purpose.

         187.    Plaintiff reasonably relied upon the skill and judgment of Defendant as to whether




                                                                                                        Presiding Judge: HON. KAELIN G. REED 1611402)
 Poundup was of merchantable Quality and safe and fit for its intended use.

         188.    Poundup was injected into the stream of commerce by the Defendant in a

 defective, unsafe, and inherently dangerous condition, and the products’ materials were expected

 to and did reach users, handlers, and persons coming into contact with said products without

 substantial change in the condition in which they were sold.

         189.     The Defendant breached the aforesaid implied warranties, as its herbicide

 Raundup was not fit for its intended purposes and uses.

         151}.   A a result of the foregoing acts and omissions, Plaintiff suffered from MbiL and

 Plaintiff suffered severe and personal injuries which are permanent and lasting in nature, physical

 pain and mental anguish, including diminished enjoyment of life, financial expenses for
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 hospitalization and medical care, including medical expenses and other economic, and non­

 economic damages.



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                                         COUNT V
                               (breach of express warranty)


          l9l.     Plaintiff repeats, reiterates, and realleges each and every allegation of this




                                                                                                          Package 000036 of 000041
  Complaint contained in each of the foregoing paragraphs inclusive, with the same force and

  effect as if more fully set forth herein.

          192      At all relevant and material times, Defendant manufactured, distributed,

  advertised, promoted, and sold Poundup.

          193.     A: all relevant times, Defendant intended that the Defendant’s Roundup be used

  in the manner that Plaintiff used it, and Defendant expressly warranted that each Poundup

  product was safe and fit for use by consumers, that it was of merchantable quality, that its health




                                                                                                           Presiding Judge: HON. KAELIN G. REED (611402)
  and side effects were minimal, and that it was adeQaately tested and fit for its intended use.

          194.     A all relevant times, Defendant was aware that consumers, including Plaintiff,

  would use Poundup products; which is to say that Plaintiff was a foreseeable user of the

  Defendant’s Roundup products.

          195.     Plaintiff used Poundup manufactured by Defendant.

          196.     Defendant’s Roundup products were expected to reach and did in fact reach

   consumers, including Plaintiff, without any substantial change in the condition in which it was

  manufactured and sold by Defendant.

          197.     Defendant expressly warranted that Roundup was safe and not dangerous to users.

          198.     Defendant expressly represented to Plaintiff, scientists, the agricultural
                                                                                                          P a ck a g e 000036 of 000041




   community, and/or EPA that Roundup was safe and fit for use for the purposes intended, that it

   was of merchantable quality, that it did not produce dangerous side effects in excess of those risks

   associated with other forms of herbicides, that the side effects it did produce were accurately

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 reflected in the warnings, and that it was adeCfrately tested and fit for its intended use.

          199.    Defendant breached various express warranties with respect to Foundup including

  the following particulars: a) Defendant Monsanto’s website expressly states that “[r]egulatory




                                                                                                                  P a c k a g e 000037 of 000041
  authorities and independent experts around the world have reviewed numerous long

  term/carcinogenicity and genotoxicity studies and agree that there is no evidence that

  glyphosate, the active ingredient in Foundup brand herbicides and other glyphosate based

  herbicides, causes cancer, even at very high doses, and that it is not genotoxic.”12 b) Defendant

  has expressly warranted that Roundup is “safer than table salt” and “practically nontoxic.”13

          200.    Foundup did not conform to these express representations because Foundup was

  not safe and had, at all relevant times, an increased riskof serious side effects, including non-




                                                                                                                 P resid in g Ju d g e : HON. KAELIN G. REED (6114021
  Hodgkin’s lymphoma, when used according to Defendant’s instructions.

          201.    Defendant fraudulently concealed information from Plaintiff regarding the true

  dangers and relative risks of Foundup.

          202     The global scientific community is not, and was never, in agreement that

  Foundup is non-carcinogenic.

          203.     Plaintiff did rely on the express warranties of the Defendant herein.

          204.     Plaintiff, consumers, and members of the agricultural community relied upon the

  representations and warranties of the Defendant for use of Roundup in recommending, using,

  purchasing, mixing, handling, applying, and/or dispensing Roundup.

          205.     The Defendant herein breached the aforesaid express warranties, as its product
                                                                                                                  P a c k a g e : 000037 of 000041




           12 http://www.monsanto.com/glvphosate/documents/no>eviden.ce^or-caicinogenidtv.pdf October 8, 2015.
           13Reuters, Jun 14, 2015 UPDATE 2-French minister asks shops to stop selling Monsanto Roundup
  weedkiller.

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 Boundup was defective.

         206.     Defendant knew or should have known that, in fact, said representations and

 warranties were false, misleading, and untrue in that Bound up was not safe and fit for the use




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 intended, and, in fact, produced serious injuries to the users that were not accurately identified

 and represented by Defendant.

          207.    Defendant knew or should have known that, in fact, said warranties were false,

 misleading, and untrue in that there is evidence that Boundup is toxic, genotoxic, and

  carcinogenic and that scientists and/or regulatory authorities around the world are not in

  agreement that Boundup is not carcinogenic or genotoxic and that it is safe.

          2C8.    A a result of the foregoing acts and omissions, Plaintiff suffered from life




                                                                                                       P re sid in g J u d g e HON. KAELIN G. REED (6114021
  threatening NHLand suffered severe and personal injuries, which are permanent and lasting in

  nature, physical pain and mental anguish, including diminished enjoyment of life, and financial

  expenses for hospitalization and medical care.

          209.    A a result of the foregoing acts and omissions, Plaintiff has suffered and incuned

  damages, including medical expenses and other economic and noimeconomic damages.

                                         COUNT VI
                                  CONSUMER PROTECTION ACT

          2lQ     Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

  Complaint contained in each of the foregoing paragraphs inclusive, with the same force and

  effect as if more fully set forth herein,
                                                                                                        P a c k a g e : 000038 of 000041



          211.     Monsanto misrepresented the efficacy and safety of Roundup to Owen A.

  Mattingly through its advertising, promotion and sales efforts, as directed to Owen A. Mattingly,

  the local community and the FDA.


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          2l 2    Monsanto’s actions and failures to act as alleged in this Complaint constitute

  unfair, false, misleading and deceptive acts and practices in the conduct of trade and commerce

  in violation of the Kentucky Consumer Protection A:t, KBS 367.170.

          2l3.    As a result of Monsanto’s deceptive and unconscionable conduct, Owen A.




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  Mattingly purchased Boundup and Owen A Mattingly did in fact utilize Boundup. Owen A

  Mattingly’s use of Roundup was entirely for Owen A. Mattingly’s personal purposes.

          2i4     Owen A Mattingly is within the class of people intended to be protected by the

  J^ntucky Consumer Protection At.

          215.    The actions set forth in this Count were a substantial factor in causing damages,

  as set out in the foregoing Counts, to Owen A Mattingly, and for which Monsanto is legally




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  responsible.

          216.    In addition, the Court should award the Plaintiffs reasonable attorney’s fees and

  costs as allowed by the Kentucky Consumer Protection At, KBS 367.220(3).

                                                COUNT VII
                                            PUNITIVE DAMAGES

          217.    Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

  Complaint contained in each of the foregoing paragraphs inclusive, with the same force and

  effect as if more fully set forth herein.

          218.    The Plaintiff is entitled to punitive damages because Monsanto’s actions and

  failure to act as set forth herein were reckless and without regard for the public’s safety and
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  welfare. Monsanto misled both the agricultural community and the public at large, including

  Owen A. Mattingly, by making false representations about the safety of Roundup. Monsanto

  downplayed, understated and disregarded its knowledge of the serious adverse events and side


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effects associated with the use of Bound up, despite available information demonstrating that

Boundup was likely to cause serious and sometimes fatal side effects to users.

         219.      Monsanto was or should have been in possession of evidence demonstrating that




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 Boundup caused serious adverse events and side effects. Monsanto failed to conduct appropriate

 and necessary testing, despite repeated indications and calls therefore, and continued to market

 Boundup by providing false and misleading information with regard to the safety and efficacy of

 said product.

         220.      Monsanto acted willfully, wantonly, intentionally, outrageously, maliciously and

 with reckless and conscious disregard for the health, welfare, safety and rights of Plaintiff and the

 general public.




                                                                                                         Presiding Judge HON. KAELIN G. REED (611402)
         221.      Monsanto is liable to Owen A Mattingly for punitive damages in an amount

 support by the evidence and the law of the Commonwealth of Kentucky.

         WHEREFORE, Plaintiff demands judgment against the Defendant on each of the above-

 referenced counts, claims and causes of action and as follows:

         1. Avarding compensatory damages in excess of the minimum jurisdictional limits of this

 Court, including, but not limited to pain, suffering, emotional distress, loss of enjoyment of life,

  and other non-economic damages in an amount to be determined at trial of this action.

         2. Avarding compensatory damages to Plaintiff for past and future damages, including,

  but not limited to, Plaintiff’s pain and suffering and for severe and permanent personal injuries

  sustained by the Plaintiff including health care costs and economic loss;
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         3. Awarding economic damages in the form of medical expenses, out of pocket expenses,

  lost earnings, destruction or diminution in the Plaintiff’s ability to labor and earn money, and

  other economic damages in an amount to be determined at trial of this action;
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4 Trial by jury;

5. Pre-judgment interest;

6. Post-judgment interest;




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7. Awarding Plaintiffs reasonable attorneys’ fees;

8. Avarding Plaintiff the costs of these proceedings; and

9. Such other and further relief as this Court deems just and proper.


                                                 Respectfully Submitted,

                                                 /s/ befjlHMttfndvIg___________
                                                 JOSEPH H. MATTINGLY III
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                                                 .Attorney at Law
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